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        UNITED STATES DISTRICT COURT                         10/17/07) (unpublished); doc. ## 903, 909.
        SOUTHERN DISTRICT OF GEORGIA
             SAVANNAH DIVISION
                                                                In its last Order on the topic, the Court noted
UNITED STATES                                                the Bradley shareholders’ “powerful assertions”
                                                             about the Receiver’s efforts to sell the “PDMA”
V.                           405CR059                        drug inventory at issue here. Bradley, 2008 WL
                                                             4507659 at * 2. It thus directed the Government
MARTIN J. BRADLEY III, et al.
                                                             and the Receiver to file response briefs. Id.
                         ORDER                               “Meanwhile,” the Court continued,

   This Order assumes familiarity with the                      the Bradleys are invited to brief the Court
Court’s last Order on the “PDMA-disposal” 1                     on how they might find a buyer and thus
issue raised in various motions (e.g., doc. ##                  foment a sale that complies with all
875, 946, 1177), and previously analyzed in                     applicable law. If the Receiver in fact is
various orders such as U.S. v. Bradley, 2008                    wasting this asset, then the Bradleys ought
WL 4507659 (S.D.Ga. 10/6/08) (unpublished);                     to be able to cite to a legitimate
U.S. v. Bradley, 2007 WL 3046516 (S.D.Ga.                       disposition method and sale possibility.
                                                                And they ought to be able to do so within
                                                                15 days from the date this Order is served.
 1
                                                                Otherwise, the Court will be inclined to
     Under the Prescription Drug Marketing Act (PDMA),          grant the Receiver's motion.
          [e]ach person who is engaged in the
          wholesale distribution of a drug subject           Id. (footnote omitted).
          to subsection (b) of this section and
          who is not the manufacturer or an                     The Receiver and Government have
          authorized distributor of record of such           complied and have supplied convincing grounds
          drug shall, before each wholesale
          distribution of such drug ... provide to           to destroy the inventory outright. Doc. ## 1190,
          the person who receives the drug a                 1191. The Bradleys, meanwhile, simply
          statement ... identifying each prior sale,         continue to seek -- as they have done for many
          purchase, or trade of such drug                    months -- to stay that destruction pending an
          (including the date of the transaction             appeal filed in 2006 that is just now proceeding
          and the names and addresses of all
          parties to the transaction).                       to oral argument (on 11/19/08). Doc. # 1189.

21 U.S.C. § 353(e)(1)(A). "The PDMA's purpose is to             What the Bradleys fail to do, of course, is
protect the American consumer from tainted                   “cite to a legitimate disposition method and sale
pharmaceuticals. The pedigree requirement was created
                                                             possibility.” Bradley, 2008 WL 4507659 at * 2.
to show where wholesale distributors were obtaining their
drugs." RxUSA Wholesale, Inc. v. Dep 't of Health &          Nor do they offer to absorb the $750/month
Human Servs., 467 F.Supp.2d 285, 290 (E.D.N.Y. 2006)         storage costs for these drugs.
aff'd, Department of Health and Human Services v.
RxUSA Wholesale, Inc., 2008 WL 2699935 (2nd                     Nor, for that matter, do they proffer any
Cir.7/10/08) (unpublished). The RxUSA district court
addressed a constitutional issue and enjoined an
                                                             suggestions on what to do about Novis
implementing regulation, 467 F.Supp.2d at 296, but           Pharmaceuticals, LLC’s motion to “abandon”
essentially said that for public safety reasons everyone,    (which the Court interprets to mean destroy)
whether an authorized or an unauthorized distributor (like   such drugs left in its possession when it bought
Bio-Med), must prove a drug's pedigree at least as far       a building from the Receiver. See id. (deferring
back to the authorized distributor through which the drug
passed. Doc. # 903 at 7.
                                                             ruling on Novis’s motion).
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    The Bradleys have been given a fair
opportunity to come up with a convincing
alternative here, and they have failed to do so.
They do not rebut, for example, the Receiver’s
assertion that, legalities aside, no one can find a
buyer for these drugs. Doc. # 1190 at 5. Nor
does anyone suggest that a buyer might be
found anytime soon. The Court has patiently
indulged the Bradleys for some two years now;
it is now time to tie up this loose end. 2

   Accordingly, the Court GRANTS the
Receiver’s renewed motion (doc. # 1177) to
destroy the “PDMA” inventory and GRANTS
Novis Pharmaceuticals, LLC’s “abandonment”
motion (doc. # 1 170). 3 Finally, the Court
GRANTS the unopposed motion (doc. # 1185)
of the Receiver for this Court to approve the
terms of the real property sale detailed in that
motion.

     This 24 day of October, 2008.


______________________________________
B. AVANT EDENFIELD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA




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    The Bradleys cannot deny that this is a very complex,
voluminous case, and the Eleventh Circuit sometimes has
taken years to finally resolve an appeal. See, e.g., Moore
v. Zant, 734 F.2d 585 (11th Cir. 1984), vacated, and later
heard en banc, Moore v. Kemp, 824 F.2d 847 (1987) (en
banc), vacated and remanded for further consideration in
light of Teague v. Lane, 489 U.S. 288 (1989), Zant v.
Moore, 489 U.S. 836 (1989); on further consideration,
Moore v. Zant, 885 F.2d 149 (11th Cir. 1989) (en banc),
cert. denied, Moore v. Zant, 497 U.S. 1010 (1990).

 3 The Receiver shall cooperate with Novis in destroying

that particular cache of drugs. It is unclear who rightly
should bear that expense. These parties shall settle that
question amicably, and only if they in good faith cannot
will the Court entertain a follow-up motion.
